                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

               V.
                                             Cr.   No.   19-10075-MLW

RUDOLPH MEREDITH,
        Defendant.

                              MEMORANDUM AND ORDER


WOLF, D.J.                                                            March 27, 2019

        The court has reviewed the Information              (Docket No.          1),   the

March     4,    2019   Plea    Agreement     (Docket      No.     17)     (the     "Plea

Agreement"), the March 4, 2019 Cooperation Agreement (Docket No.

13-1) (the "Cooperation Agreement"), and the government's proposed

jury instructions and statement of facts (Docket No. 18). At the
March 28,       2019 hearing concerning defendant Rudolph Meredith's

request to waive indictment and plead guilty, there are issues
that the parties shall be prepared to discuss,                          including the

following.

        The    Information    includes     two   charges:       (1)     conspiracy      to

commit wire fraud and honest services wire fraud; and (2)                         honest

services wire fraud.          It appears that the government may have at

least implicitly agreed not to pursue additional potential charges
against Meredith. For example, Meredith is charged with conspiring
with William Singer. Singer is charged in a separate case with

engaging in a RICO conspiracy, see United States v. Singer, 19-
cr-10078-RWZ, and several others are charged with engaging in a

RICO conspiracy with him,    see, e.g..   United States v♦ Ernst et

al., 19-cr-10081-IT; United States v. Vandemoer, 19-cr-10079-RWZ.

However, Meredith is not charged with RICO conspiracy. Similarly,

an Affidavit in Support of Criminal Complaint in United States v.

Abbott et al., 19-mj-06087-MPK, indicates that Meredith agreed to

plead guilty to three charges, but the Information includes only

two charges. See 19-mj-06087-MPK, Docket No. 3-2 at 7, n.3.      In

view of the foregoing, the court may have a duty to decide before

accepting Meredith's guilty plea whether "the remaining charges

adequately reflect the seriousness of the actual offense behavior
and that accepting the agreement will not undermine the statutory

purposes of sentencing or the sentencing guidelines." U.S.S.G.
§6B1.2(a).

       The Plea Agreement states that the parties calculated the

Guideline range for Meredith's sentence based on the assumption
that the "gain or loss from the offenses of conviction and related
conduct is more than $550,000 but not more than $1,500,000." Docket

No.    17 at 2.   It is not clear: what amount the parties used in

calculating the gain or loss;^ whether the government investigated




^ The Plea Agreement provides for forfeiture of approximately
$866,000. See Docket No. 17 at 6. The Statement of Facts indicates
that this is about the amount Singer paid Meredith. See Docket No.
18    at   10.
and   included   in   the   calculation   possible   additional    criminal

activity that would constitute relevant conduct under U.S.S.G.

§1B1.3; and, if relevant conduct was not investigated or included,

that was because of the immunity conferred by paragraph 5 of the

Cooperation Agreement and U.S.S.G. §lB1.8{a).

      It is also not clear whether the honest services wire fraud

scheme alleged as Count Two, concerning "Applicant 2," is alleged
to be part of the conspiracy charged in Count One. For the purpose
of Counts One and Two, Meredith is alleged to have "solicited a

bribe directly from the father of Yale Applicant 2." Docket No. 1
^17. However, Singer is not mentioned with regard to "Applicant 2"
in either Count One or Count Two. The government's statement of

facts states that "Meredith entered into a separate agreement"
concerning "Applicant 2." Docket No. 18 at 11. The court has an
obligation to assure that the facts to be admitted constitute the
crime charged, meaning with regard to Count One the conspiracy
charged and not some other conspiracy. See, e.g.. United States v.
Matos-Quinones, 456 F.3d 14, 21 {1st Cir. 2006); United States v.
Nearon-Narvaez,       403 F.3d 33,   37    (1st Cir.   2005).     Therefore,
Meredith and the court must have an accurate understanding of the
scope of the conspiracy charged in Count One.

       The Plea Agreement also states that Meredith "agrees to waive
venue, to waive any applicable statute of limitations, and to waive
any legal or procedural defects in the Information." Docket No. 17
at 1. If the allegations in the Information concerning "Applicant

2"   are not part of the conspiracy charged in Count One,        the

District of Massachusetts might not ordinarily be a proper venue

for Count One.   However,   objections to venue can be waived.   See

Singer v. United States, 380 U.S. 24, 34-35 (1965); United States

V. Collins, 372 F.3d 629,     633   (4th Cir. 2004). The court has a

duty to ensure Meredith is waiving any such possible objection
knowingly and voluntarily. See Fed. R. Crim. P. 11(b) and (c).
      The court also wishes to ensure that Meredith understands

that if the court accepts his guilty plea he will be giving up his
right to claim that the government unlawfully "manufactured
jurisdiction" in the District of Massachusetts. See, e.g.. United
States V. Djokich, 718 F. Supp. 2d 173 (D. Mass. 2010); United
States V. Djokich, 08-cr-10346-MLW, 2010 WL 276336 (D. Mass. Jan.

19, 2010) . Based on the information submitted to the court, it
appears that effective counsel could reasonably recommend that
Meredith cooperate rather than raise such a claim. See Strickland
V. Washington, 466 U.S. 668, 686 (1984); Peralta v. United States,
597 F.3d 74, 79-80 (1st Cir. 2010). However, the court intends to
ask Meredith if he has discussed waiving possible objections
concerning venue and manufactured jurisdiction with his counsel.
       In a further effort to assure that Meredith understands the
rights he is waiving, the court will also ask counsel for the
government and for Meredith to describe the meaning of his
agreement    "to     waive   any   legal   or    procedural   defects     in   the

Information." Docket No.       17 at 1.

     Finally,       as   the parties may        know from publicly available

information,    I    graduated from Yale College          in 1968.   Each year

since, I have paid Class Dues and made a contribution to the Yale

Alumni Fund. As Meredith is the former Yale women's soccer coach,

I have considered whether my recusal is required and have concluded

that it is not. I have no bias or prejudice concerning any party,

and will not be influenced in any decision I must make by the fact

that Meredith was employed by Yale rather than another university.

Therefore,     my    disqualification      is    not   required by   28    U.S.C.

§455{b)(l). Applying the standards described in United States v.

Sampson, 148 F. Supp. 3d 75, 85-88 (D. Mass. 2015), I also find

that this is not a case in which my impartiality might reasonably

be questioned. Therefore my recusal is not required, or indeed
permissible, pursuant to 28 U.S.C. §455{a). I will, however, at

the March 28, 2019 hearing provide the parties an opportunity to

question me about this if they wish and will consider any concerns

about my participation in this case that they might express.




                                                 UNITED ^ ATES DISTRICT JUDG
